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UNITED STATES DISTRICT COURT

CENTRAL DISTRICT OF CALIFORNIA

COMMON CAUSE, SOUTHERN
CHRISTIAN LEADERSHIP CONFERENCE
OF GREATER LOS ANGELES,
SOUTHWEST VOTER REGISTRATION
EDUCATION PROJECT, CHICANO
FEDERATION OF SAN DIEGO COUNTY,
AMERICAN FEDERATION OF LABOR
AND CONGRESS OF INDUSTRIAL
ORGANIZATIONS, BRYAN CAHN,
MIGUEL CONTRERAS, LAURA HO,
REVEREND NORMAN JOHNSON, JOANNE
McKRAY, TRISHA MURAKAWA, THOMAS
RANKIN, and BOB RICHARDS,

Plaintiffs,

Vv.
BILL JONES, in his official
capacity as California

Secretary of State,

Defendant.

 

I. INTRODUCTION

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CV 01-03470-SVW (RZx)

ORDER DENYING DEFENDANT’ S
MOTION FOR RECONSIDERATION

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On February 19, 2002, this Court issued an order finding that,

based on the uncontroverted evidence in the record, as well as the

admission by Defendant at oral argument, it was feasible for the nine

California counties currently using the pre-scored punch card voting

systems to convert to “other certified voting equipment” by March

2004. Therefore, as that was the only issue to be decided at trial,

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Case 2:01-cv-03470-SVW-RZ Document 76 Filed 04/26/02 Page 2o0f10 Page ID #:75

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pursuant to the October 12, 2001 Stipulation and Order, the parties

were directed to lodge a form of consent decree within seven days

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after the issuance of the order. .

Defendant now brings a motion for reconsideration claiming that
the Court had failed to consider the order’s negative impact on the
public interest. Furthermore, Defendant claims that the Court's
order was improperly issued.

As set forth below, Defendant's motion for reconsideration is

DENIED.

II. DISCUSSION

A. Failure to Consider the Public Interest

On October 12, 2001, the parties entered into a stipulation,
signed by the Court, wherein they agreed that the only issue
remaining in the case prior to the parties entering into a consent
decree was “whether it is feasible to replace Votomatic and Pollstar
punch-card voting systems with other certified voting equipment in
the nine California counties that currently use such systems in
advance of either the 2004 primary election or the 2004 general
election.” On February 19, 2002, the Court ruled on that issue,
thereby eliminating all remaining triable issues that had been set
forth by the parties.

Now Defendant alleges that the Court should have considered
issues other than the only issue that the parties had previously
agreed to have this Court decide. In particular, Defendant argues
that the Court neglected to consider “how the public interest would

greatly benefit from providing the affected counties with the option

 
 

Case 2:01-cv-03470-SVW-RZ Document 76 Filed 04/26/02 Page 30f10 Page ID #:76

1 of converting to touch screen voting systems.” Defendant's Motion
an

2 For Reconsideration, at 2.

3 However, the issue of touch screen voting systems is not before

4 the Court in this case. Through the October 12'" stipulation, the

5 parties knowingly and voluntarily narrowed the triable issue in this
6 case to encompass only the feasibility of converting to non-punch-

7 card certified voting systems in time for the 2004 elections.

8 Accordingly, the Court enforced that stipulation and confined the

9 trial to that issue.’ See Sinicropi v. Milone, 915 F.2d 66, 68 (2d

10 Cir. 1990) (“Courts generally enforce stipulations that narrow the
11 issues in a case.”); FDIC v. St. Paul Fire & Marine Ins. Co., 942

12 F.2d 1032, 1038 (6th Cir. 1991) (“Stipulations voluntarily entered by

 

13 the parties are binding ...”). Since there were no material facts
14 in dispute concerning the interpretation of “feasibility,” nor any
15 dispute concerning the facts relevant to a resolution of the triable
16 issue, the Court properly decided this case as a matter of law.’

17

18 ' Secretary Jones has not argued that this Court should set

aside the stipulation. At oral argument on this motion, the Court
19 specifically pointed out this fact to Defendant, and still Defendant
did not make such a request. A request to set aside a stipulation is

20 permitted under prevailing law, if, for example, adherence to such a
stipulation would have resulted in manifest injustice to a party, or
21 if a party entered into the stipulation by inadvertence. See Seymour

v. Summa Vista Cinema, Inc., 809 F.2d 1385, 1388 (9th Cir. 1987)
22 amended by 817 F.2d 609 (9th Cir. 1987); McMorgan & Co. v. First

California Mortgage Co., 931 F.Supp. 699, 703 (N.D. Cal. 1996) (“The
23 Court has broad discretion in deciding whether to hold the parties to
74 a stipulation.”).

However, Since Defendant has not argued that any reasons exists

25 why this Court should set aside the stipulation, nor has he even made
such a request, the Court will enforce the stipulation as agreed upon

 

6 by the parties.

27 * In his trial brief, Defendant noted, in support of his

 

28 Jones had rejected the term “possible” in favor of the word

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argument for the proper interpretation of “feasible,” that Secretary

 
 

Case 2:01-cv-03470-SVW-RZ Document 76 Filed 04/26/02 Page 4of10 Page ID#:77

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In making its decision, the Court considered all of the relevant
factors bearing on the triable issue. At the commencement of this
case, the underlying issue was whether the use of the pre-scored
punch card voting systems (specifically, the Votomatic and Pollstar
systems) were in violation of the Fourteenth Amendment and the Voting
Rights Act. That issue was never reached by the Court, because,
subsequent to the filing of this action, Defendant Secretary Jones
agreed to decertify the Votomatic and Pollstar systems, thereby
making the issue of their constitutionality moot. Nevertheless, as
the parties agreed upon in the October 12 stipulation, “the Court
shall, in determining whether it is feasible to replace such systems
in advance of either 2004 election, apply the same standards that
would have applied if Plaintiffs had prevailed on the merits of their
claims.” Therefore, the Court was directed to address the issue of
whether it was feasible to replace the Votomatic and Pollstar systems
assuming that the use of such systems amounted to a violation of the
Fourteenth Amendment right to equal protection of the law and the
fundamental right to vote.

Now, despite having stipulated to the issues set forth above,
Secretary Jones contends that the Court should have not only decided
whether it was feasible to replace the current systems with other

systems that Secretary Jones has certified as suitable for use, but

 

“feasible” in drafting the stipulation. While the Court considered
this argument in its determination of the proper interpretation of
“feasible,” Defendant had not presented, nor had he indicated any
intention to present, any evidence in this regard for trial.
Furthermore, even now, neither party has asserted that an
interpretation of the word “feasible” would require consideration of
extrinsic evidence, instead of being a legal determination capable of
being made by the Court at this time.

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Case 2:01-cv-03470-SVW-RZ Document 76 Filed 04/26/02 Page 5of10 Page ID#:78

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also whether such a change is in the public interest. The Court ,
finds it self-evident that replacing voting systems that deprive.”
individuals of the right to vote is clearly in the public interest.
The only question remaining for the Court to decide, as set forth by
the parties, was whether such a change could feasibly be accomplished
in time for the 2004 elections. In this motion, however, Secretary
Jones essentially contends that the public interest was not properly
considered by the parties in agreeing to the feasibility issue being
the sole issue for trial, and as a result the Court must also decide
whether the public interest would be better served by allowing the
use of these presumably-unconstitutional punch card systems in the
2004 election, in exchange for the counties being able to implement
the touch screen voting systems by July 2005.

Secretary Jones is essentially creating a new issue for trial,
disguised as a claim that the public interest was ignored in the
issuance of the Court’s order. He makes this argument
notwithstanding the fact that the public interest is actually the
sole reason why this Court needed to decide whether it was feasible
for the punch card system to be replaced with a certified system - as
determined by Secretary Jones himself - in the first place.

Nevertheless, even if this Court was faced with the issue of
deciding whether the public interest is better served by allowing
more time for the nine California counties at issue to implement a
touch screen system, the Court has no authority to direct such a
result. The fact remains that the counties are not parties to this
case. The Court cannot mandate that any county use any particular

voting system, and neither can Secretary Jones. As stated at oral

 

 
 

 

 

Case 2:01-cv-03470-SVW-RZ Document 76 Filed 04/26/02 Page 6of10 Page ID #:79

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argument, the only authority that the Secretary of State has in this
regard is whether to certify systems or decertify systems. o
Accordingly, since Secretary Jones has not indicated any intention to
decertify every system other than the touch screen system, there can
be no requirement that the counties implement the touch screen system
at all! Even if the Court decides that the public interest is best
served by the use of the touch screen systems, and directs the
Defendant to decertify the punch card systems by 2005, or even 2010,
there is still absolutely no guarantee that the counties would
implement a touch screen system, even if they stated an intention to
do so. All that is required under the law is that the counties use
certified systems. Since the Court has concluded that it was
feasible for these counties to convert to “other certified systems”
in time for the 2004 elections, as set forth in the February 19™
Order, the only issue properly before the Court has been decided, and
has been decided in proper consideration of the public interest of
eliminating systems that deprive individuals of the right to vote.
Therefore, Defendant has not satisfied the requirements under
Local Rule 7-18, which requires a motion for reconsideration to be
based on “a manifest showing of a failure to consider material facts

presented to the Court.”* The Court has considered all of the

material facts presented, and issued its order accordingly.

 

3 “A ‘material’ fact is one that is relevant to an element of a
claim or defense and whose existence might affect the outcome of the
suit.” T.W. Electrical Serv,, Inc, v. Pacific Electrical Contractors
Ass'n, 809 F.2d 626, 630 (9th Cir. 1987).

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Case 2:01-cv-03470-SVW-RZ Document 76 Filed 04/26/02 Page 7 of10 Page ID #:80

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B. Procedural Basis for the Court’s Decision
Defendant also argues that the Plaintiffs’ request for judgment

as a matter of law was really an improperly disguised summary :
judgment motion. Defendant’s argument is without merit.

The Court’s order was not based on a summary judgment motion
pursuant to Fed. R. Civ. P. 56(c). Rather, the Court made a judgment
as a matter of law pursuant to its authority to grant summary
judgment sua sponte in the context of a final pretrial conference.
See Portsmouth Square, Inc. v. Shareholders Protective Comm., 770
F.2d 866, 869 (9th Cir. 1985). As set forth in Portsmouth, “If the
pretrial conference discloses that no material facts are in dispute
and that the undisputed facts entitle one of the parties to judgment
as a matter of law, a summary disposition of the case conserves
scarce judicial resources. The court need not await a formal motion,
or proceed to trial, under those circumstances.” Id.

Here, as indicated by the Defendant's admission at the pretrial
conference, no material facts concerning the only triable issue were
in dispute. As a result, Plaintiff was entitled to judgment as a
matter of law, as set forth in the Court’s February 19° Order.
Furthermore, Defendant had a full and fair opportunity to develop and

present facts and legal arguments in support of its position, and

therefore this Court's motion was proper. See id.; Berkovitz v. Home

Box Office, Inc., 89 F.3d 24, 29 (1st Cir. 1996) (“Though a district
court may enter summary judgment sua sponte at, or in consequence of,
a pretrial conference, the court must ensure that the targeted party

has an adequate opportunity to dodge the bullet.”).

 

 
 

Case 2:01-cv-03470-SVW-RZ Document 76 Filed 04/26/02 Page 8of10 Page ID #:81

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Defendant does not claim that he was not fully heard on the
issue of the feasibility of converting from the punch card systems to
other certified systems by the 2004 elections. Indeed, at the time
of the ruling, the record contained both Defendant’s 24-page
Memorandum of Contentions of Fact and Law and Defendant’s 20-page
Trial Brief. Moreover, pursuant to the Court’s July 2, 2001 Order
re: Civil Trial Preparation, in which the parties were required to
submit declarations containing the direct testimony of their
witnesses, Defendant had already submitted the extensive declarations
of his primary witnesses. Finally, Defendant plainly acknowledged at
oral argument on February 4, 2002 that it was in fact possible for
each of the nine California counties using the punch card system to
covert to other systems by the 2004 election.’

Furthermore, contrary to Defendant’s argument, Defendant did
have an opportunity to respond to Plaintiffs’ arguments. The Court
specifically inquired of Defendant at the February 4*° Pretrial
Conference, upon learning that Plaintiffs intended to raise the issue
in their trial brief of whether the feasibility question was already
conclusively determined, whether Defendant intended to respond to

that brief. Defendant indicated that his trial brief was a response

 

* In all of his submissions, Defendant has never denied the fact
that it 1s possible to change from pre-scored punch card voting
systems to other certified voting equipment by the 2004 elections.
His only argument in this regard is that it is preferable for the
counties to use the touch screen system instead of any other system.
While this is arguably so, the Court was never asked to decide which
system was most optimal out of all of the certified systems, only
whether a change to another certified system was feasible. Since, as
discussed above, Defendant has never asked this Court to relieve him
of the stipulation and consider the issue of whether the touch screen
system is the most desirable system, the Court was able to decide the
only triable issue set forth by the parties at the time its ruling
was made.

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Case 2:01-cv-03470-SVW-RZ Document 76 Filed 04/26/02 Page 9of10 Page ID #:82

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to Plaintiffs’ opening brief, in which the same substantive argument
was raised. In fact, Defendant’s trial brief did address the precise
issues considered by the Court in making its February 19™ ruling,’
including the issues related to the feasibility of changing voting
systems, and Defendant’s arguments regarding the public interest
concerns. Additionally, in his current motion for reconsideration,
Defendant has once again had the opportunity to point out any facts
that he felt the Court should have considering in making its ruling,
and the Court has duly considered his arguments.

Moreover, the Court’s ruling would have also been proper under
Fed. R. Civ. P. 52(c). According to Rule 52(c), “If during a trial
without a jury a party has been fully heard on an issue and the court
finds against the party on that issue, the court may enter judgment
as a matter of law against that party with respect to a claim or
defense that cannot under the controlling law be maintained or
defeated without a favorable finding on that issue.”°

Therefore, the Court’s February 19, 2002 Order, wherein the

Court has set forth its requisite findings of fact and conclusions of

 

> Defendant contends that Rule 52(c) only allows a trial court
to enter a judgment as a matter of law after the commencement of
trial. However, the Advisory Committee Note discussing the 1991
Amendment, in which subdivision (c) was added, contains the following
language: “[Subdivision (c)] parallels the revised Rule 50(a), but is
applicable to non-jury trials. It authorizes the court to enter
judgment at any time that it can appropriately make a dispositive
finding of fact on the evidence.” Fed. R. Civ. P. 52, Advisory
Committee Notes (emphasis added). To the extent that “at any time”
could be construed to mean at any time during trial, the Court had
already directed the parties to submit, prior to trial, the direct
testimony of their witnesses in the form of declarations, signed
under penalty of perjury, pursuant to its July 2, 2001 Order re:
Civil Trial Preparation. Therefore, Defendant’s primary witnesses
had already testified, and the Court was able to make a dispositive
finding of fact subsequent to that testimony.

-9-

 

 
Case 2:01-cv-03470-SVW-RZ Document 76 Filed 04/26/02 Page 10o0f10 Page ID #:83

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law, was procedurally authorized and constitutes a valid final

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judgment on the only triable issue asserted by the parties in this

case.
TII. CONCLUSION
As discussed above, Defendant’s motion for reconsideration is

DENIED.

IT IS SO ORDERED.

DATED: fa <

 

STEPHEN V. WILSON
UNITED STATES DISTRICT JUDGE

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